Case 3:13-cv-02462-RGJ-KLH Document 1-1 Filed 08/14/13 Page 1 of 8 PageID #: 9
                                                                          Service of Process
                                                                          Transmittal
                                                                          07/15/2013
                                                                          CT Log Number 523106212
   TO:     Michael Wallace, Corporate Paralegal
           Cornerstone Healthcare Group
           2200 Ross Avenue, Suite 5400
           Dallas, TX 75201

   RE:     Process Served in Louisiana
   FOR:    Cornerstone Hospital of West Monroe, LLC (Domestic State: DE)




   ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

   TITLE OF ACTION:                 Billy W. Jones and Brandi Jones, Pltfs. vs. Cornerstone Hospital of West Monroe and
                                    Professional Home Health Services, Dft.
   DOCUMENT(S) SERVED:              Citation, Petition, Order, Request for Notice
   COURT/AGENCY:                    4th Judicial District Court, Parish of Ouachita, LA
                                    Case # C-20131989
   NATURE OF ACTION:                Medical Injury - Improper Care and Treatment - Wrongful Death - On or about August
                                    4, 2012 - Cornerstone Hospital of West Monroe
   ON WHOM PROCESS WAS SERVED:      C T Corporation System, Baton Rouge, LA
   DATE AND HOUR OF SERVICE:        By Process Server on 07/15/2013 at 08:50
   JURISDICTION SERVED :            Louisiana
   APPEARANCE OR ANSWER DUE:        Within 15 days of service
   ATTORNEY(S) / SENDER(S):         Oscar L. Shoenfelt, III
                                    Oscar L. Shoenfelt, III, L.L.C.
                                    2109 Perkins Road
                                    Baton Rouge, LA 70808
                                    225-336-4300
   ACTION ITEMS:                    SOP Papers with Transmittal, via Fed Ex 2 Day , 796234068750
                                    Image SOP
                                    Email Notification, Michael Wallace mwallace@chghospitals.com
   SIGNED:                          C T Corporation System
   PER:                             Trevor Garoutte
   ADDRESS:                         5615 Corporate Blvd
                                    Suite 400B
                                    Baton Rouge, LA 70808
   TELEPHONE:                       225-922-4490



                                                                                                EXHIBIT 1




                                                                           Page 1 of 1 / NR
                                                                          Information displayed on this transmittal is for CT Corporation's
                                                                          record keeping purposes only and is provided to the recipient for
                                                                          quick reference. This information does not constitute a legal
                                                                          opinion as to the nature of action, the amount of damages, the
                                                                          answer date, or any information contained in the documents
                                                                          themselves. Recipient is responsible for interpreting said
                                                                          documents and for taking appropriate action. Signatures on
                                                                          certified mail receipts confirm receipt of package only, not
                                                                          contents.
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                                          CITATION


                                                                                               D2872869
                                                                                                    KS

    BILLY W. JONES                                  DOCKET NUMBER: C-20131989
                                                    SEC: C5
    VS                                              STATE OF LOUISIANA
                                                    PARISH OF OUACHITA
    CORNERSTONE HOSPITAL OF                         FOURTH JUDICIAL DISTRICT COURT
    WEST MONROE
                                                EAST BATON ROUGE PARISH
    TO:
           CORNERSTONE HOSPITAL OF WEST MONROE
           REGISTERED AGENT: CT CORPORATION SYSTEM
           5615 CORPORATE BLVD., STE 400B
           BATON ROUGE, LA 70808


    YOU HAVE BEEN SUED.
    Attached to this Citation is a certified copy of the Petition. The petition tells you what
    you are being sued for.

    You must EITHER do what the petition asks, OR, within FIFTEEN (15) days after you
    have received these documents, you must file an answer or other legal pleadings in the
    Office of the Clerk of this Court at the Ouachita Parish Court House, 301 South Grand,
    Monroe, Louisiana.

    If you do not do what the petition asks, or if you do not file an answer or legal pleading
    within FIFTEEN (15) days, a judgment may be entered against you without further
    notice.

    This Citation was issued by the Clerk of Court for Ouachita Parish, on this JULY 10,
    2013.

                                           OUACHITA PARISH CLERK OF COURT


     Also attached are the following:
     PETITION FOR DAMAGES, ORDER


                                                                KATHY STEWAM
                                            By:
                                              Deputy Clerk


     FILED BY: OSCAR L. SHOENFELT, III #12032

                ORIGINAL

          ./"----SERVICE COPY

                FILE COPY

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Case 3:13-cv-02462-RGJ-KLH Document 1-1 Filed 08/14/13 Page 3 of 8 PageID #: 11




                                                                  13-1989
BILLY W. JONES AND BRANDI JONES                  NUMBER:                           DIV.:

VERSUS                                           4TH JUDICIAL DISTRICT COURT

CORNERSTONE HOSPITAL OF WEST
MONROE AND PROFESSIONAL HOME
                                                 PARISH OF OUACHITA                FILED
HEALTH SERVICES                                  STATE OF LOUISIANA                        UN 2 L2013

                                                                                            K OF COURT
                                                                                              DISTRICT COURT
                               PETITION FOR DAMAGES                                   OUACHtTA PARISH, LA


       The petition of Billy W. Jones and Brandi Jones, persons of the full age of

majority, domiciled in the Parish of Union, State of Louisiana, respectfully represents as

follows:

                                            1.

       The following parties, made defendants in this suit, are indebted to petitioners,

jointly, severally and in solid°, along with others, including Robert Brian Harris, M.D.

and Reeves Memorial Medical Center, for all damages as are reasonable in the

premises with legal interest thereof from the date of judicial demand until paid, and for

all costs of these proceedings:

       A.     Cornerstone Hospital of West Monroe, who, upon belief, is a
              non-qualified healthcare provider in accord with the Louisiana
              Medical Malpractice Act, whose place of business is located in
              Ouachita Parish, Louisiana;

       B.    Professional Home Health Services, who, upon belief, is a non-
             qualified healthcare provider in accord with the Louisiana Medical
             Malpractice Act, whose place of business is located in Union
             Parish, Louisiana; and

       C.    The remaining defendants are before Medical Review Panel and
             plaintiffs were informed the foregoing defendants are not qualified.

                                           2.

       At all times pertinent hereto, Billy W. Jones was the husband ,tifrqhe       tient,
                                                                           6
Dorothy Jones. Brandi Jones is the daughter of the patient, Dorothy411-.ies. Zorothyi
                                                                     -rjTh.,'   N.)
Jones was born on September 3, 1942, and died on August 4, 2012, cl]ue-Ao the negtect
                                                                              -b•
of the defendants.                                                                  Pr?
                                                                                          cr)
                                           3.

      On April 19, 2012, Dorothy Jones was admitted to Willis Knighton Pierremont

Health Center by Dr. Donald Elmajian for blacicIpk                                h jaA tumor. The
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patient was 69 years old at the time. She was referred for evaluation and management

of atrial fibrillation. She had a radical cystectomy performed and was in post-operative

atrial fibrillation. Her heart rate was difficult to control with HR in the 130s. She had a

catheter in place with some dark urine, but no gross blood noted. She was on Lovenox

40 mg subQ daily and her heart rate was rapid at 120-130. She had no syncope, chest

pain, CHF, and no prior history of CVA.

                                              4.

       According to Dr. Davis on or about April 26, 2012, the patient was started on the

anticoagulant, Coumadin (Warafin).

                                              5.

       On or about April 28, 2012, the patient came under the care of Professional

Home Health Services and Dr. Brian Harris, remaining on the drug Coumadin.

                                              6.

       On April 30, 2012, Professional Home Health Services called Dr. Brian Harris

and left a comment to ask him to "see MAR and parameter. If you agree please sign

and return."

                                              7.

       On May 24, 2012, Dorothy Jones was transferred to Glenwood Regional Medical

Center.    The admitting impression was nonobstructing right renal stones, mild

hydronephrosis on the right and moderate hydronephrosis on the left, probable sigmoid

diverticulitis with contained perforation, colovaginal fistula, enterocutaneous fistula left

pelvis, and bilateral indeterminate pelvic fluid collections.

                                              8.

       On May 25, 2012, the patient was transferred from Glenwood to Willis Knighton

Pierremont Health Center in Shreveport, Louisiana.

                                              9.

       The patient remained at Willis Knighton Pierremont Health Center from May 25,

2012 until June 1, 2012. Her diagnosis included weakness, atrial fibrillation, pelvic fluid

collection, enterocutaneous fistula, and enterovaginal fistula.
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                                         10.

       On or about June 1, 2012, the patient was admitted to Cornerstone Hospital of

West Monroe, located in the Parish of Ouachita, where they should have continued to

monitor her medications and test her to make sure she was being properly coagulated.

                                         11.

       Professional Home Health Services, Reeves Memorial Medical Center, and Dr.

Harris continued to treat the patient, including managing her medications. Dr. Harris

received the following confirmation as to continuing the medications on or about June

26, 2012:

      "Comments: Med changes done at Cornerstone. Do you agree?"

                                         12.

       On or about June 27, 2012, Professional Home Health Services confirmed that

the patient was continued on Coumodin as follows:

      ICD-9: 427.31
      Class: L
      Medication: Coumodin (warfarin)
      Dosage: 2.5 mg
      Route: PO
      Frequency: daily at 4pm

                                         13.

      The patient was not monitored by any defendnts as to her PT and INR findings

despite being on Coumadin.

                                         14.

      On or about July 11, 2012, Professional Home Health Services reported to

Reeves Memorial Medical Center and Dr. Harris that the patient had fallen at home. On

or about July 16, 2012, the patient reported to Reeves Memorial Medical Center feeling

"dizzy". The patient was also experiencing blood coming from her nose and headaches.

The patient was again seen at Reeves Memorial Medical Center on July 27, 2012, with

documented issues of dizziness and weakness.

                                         15.

      On or about August 4, 2012, the patient died of an extensive subarachnoid

hemorrhage causing anoxic brain injury caused by being overly coagulated. At the time

of her death, the patient's PT time was 95.4 with a normal range of 10.7-13.4 and the
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INR was 32.70 with a normal range being 2.0-3.5. The patient was overly coagulated

leading to her death which went unrecognized by her health care givers

                                               16.

       The Defendant was negligent in the following respects:

               1.     Failure to properly evaluate the patient;
               2.     Failure to properly treat the patient;
               3.     Failure to properly diagnose the patient;
               4.     Failure to properly consult with other physicians;
               5.     Failure to properly convey information to other physicians
                      and make orders to monitor the patient's PT and INR;
               6.     Failure to have proper procedures in place to avoid mistakes
                      in forwarding information;
               7.     All other acts as seen on objective review by a qualified
                      healthcare provider;
               8.     Failure to act reasonably and within the standard of care;
               9.     Any and all other deviations from the standards of care of
                      healthcare providers as may be discovered by the medical
                      review panelists upon discharging their duties in reviewing
                      the matter;
               10.    Any other act or acts of negligence that plaintiffs do not
                      recognize or identify; and,
               11.    Any acts of negligence observed by the Panel from
                      evidence.
               12.    Failure to properly monitor and assess the patient while on
                      Coumadin.

                                               17.

       The complainant pleads the doctrine of res ipsa loquitur and lack of informed

consent.

                                               18.

       Petitioner is entitled to an award for all damages, in a reasonable amount,

including, but not limited to the following:

       Past and present medical expenses              Damages as are reasonable in
                                                      the premises

       Past, present, and future mental               Damages as are reasonable in
       anguish and distress                           the premises

       Past, present, and future physical             Damages as are reasonable in
       damages, disability, and suffering             the premises

       Survival action                                Damages as are reasonable in
                                                      the premises

       Wrongful death                                 Damages as are reasonable in
                                                      the premises

       Loss of Consortium                             Damages as are reasonable in
                                                      the premises
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        Any and all other damages to be proven at the trial of this matter.

                                              19.

        Petitioner requests a trial by jury on all issues herein.

        WHEREFORE, petitioners, Billy W. Jones and Brandi Jones, pray that

defendants, Cornerstone Hospital of West Monroe and Professional Home Health

Services, be cited and served with a copy of this Petition, and that after due

proceedings be had, there be judgment rendered herein in favor of petitioners, and

against defendants, Cornerstone Hospital of West Monroe and Professional Home

Health Services, and any other defendant to be added subsequently, who include

Robert Brian Harris, M.D. and Reeves Memorial Medical Center, both of whom are

qualified healthcare providers in accord with the Louisiana Medical Malpractice Act and

defendants in a Medical Review Panel at this time, jointly, severally, and in solido, for all

damages as are reasonable together with legal interest from the date of judicial demand

until paid; and for all costs of these proceedings. Plaintiffs pray for all general and

equitable relief.

                                                           tfully ubmitted:




                                                    0
                                                    LA BAR ROLL No. 12032
                                                    OSCAR L. SHOENFELT, Ill, L.L.C.
                                                    2109 Perkins Road
                                                    Baton Rouge, Louisiana 70808
                                                    Telephone: (225) 336-4300
                                                    Facsimile: (225) 336-4350
                                                    Attorney for Plaintiffs

PLEASE SERVE:

Cornerstone Hospital of West Monroe
through its registered agent for service of process:
CT Corporation System
5615 Corporate Boulevard, Suite 400B
Baton Rouge, LA 70808

-and-

Professional Home Health Services
[Please hold service at this time]
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                                                          13-1989
BILLY W. JONES AND BRANDI JONES                NUMBER:                     DIV.:

VERSUS                                         4TH JUDICIAL DISTRICT COURT

CORNERSTONE HOSPITAL OF WEST                   PARISH OF OUACHITA
MONROE AND PROFESSIONAL HOME                                                FILED
HEALTH SERVICES                                STATE OF LOUISIANA


                                                                                 LERVdF•aUFfr
                                                                          4TH 001CML DISTRICT COURT
                                        ORDER                                 QUACK/TA PARISH, LA


      Considering Petitioners' request contained in the Petition for Damages:

       IT IS ORDERED that this matter be set for trial by jury, upon Petitioners' depositing
                      u        acsildurtEmi-%-q bk5 74tr? /14-1—
tbe required jury fee                                                               (3141-tstiluk.k
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      SIGNED at Monroe, Louisiana, this   2.- day of                      , 2013.




                                              E, 4 JUD AL DISTRICT COURT


By A rney:



OS RLS 1           EL , III
Bar Roll Number: 12032
OSCAR L. SHOENFELT, III, .L.C.
2109 Perkins Road
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